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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. 17-CIV-80495-MARRA

  CONSUMER FINANCIAL PROTECTION BUREAU,

         Plaintiff,

  vs.

  OCWEN FINANICAL CORPORATION ET AL.,

        Defendants.
  ___________________________________________/

                        ORDER ALLOWING WITHDRAWAL OF
                   ATTORNEY LAWRENCE DEMILLE-WAGMAN [DE 799]

         THIS CAUSE is before the court on the motion of Attorney Lawrence DeMille-Wagman to

  be removed as counsel of record for Plaintiff Consumer Financial Protection Bureau (“the Bureau”)

  in the above-captioned action [DE 799]. Upon consideration, it is ORDERED AND ADJUDGED:

         1. Attorney Lawrence DeMille-Wagman’s motion to be removed as counsel for Plaintiff

  [DE 799] is GRANTED and Attorney DeMille-Wagman shall be relieved of any further obligations

  in the representation of Plaintiff in this matter. The Clerk is directed to terminate Attorney DeMille-

  Wagman as counsel for Plaintiff on the CM/ECF docket sheet accordingly.

         2. Attorneys Jean Marie Healey and Atur Ravi Desai, who have previously entered their

  appearances on the Bureau’s behalf, shall remain as counsel of record for Plaintiff.

         DONE AND ORDERED at West Palm Beach, Florida this 3rd day of May, 2022.




                                                                 KENNETH A. MARRA
                                                                 United States District Judge
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  cc. all counsel
